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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------------X
   MINHYE PARK,
                                                                            Index No.: 1:20-cv-02636
                                      Plaintiff,

           -against-

   DAVID DENNIS KIM, M.D.,

                                       Defendant.
   ---------------------------------------------------------------------X




         MEMORANDUM OF LAW IN SUPPORT OF DAVID DENNIS KIM, M.D.’s
                         MOTION TO COMPEL




  Hayley Newman, Esq.
  Heidell, Pittoni, Murphy & Bach, LLP
  Attorneys for Defendant David Dennis Kim, M.D.
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                                  PRELIMINARY STATEMENT

                 Defendant David Dennis Kim, M.D., respectfully submits this memorandum of law

  in support of his motion pursuant to Rule 37(a) of the Federal Rules of Civil Procedure for an

  Order compelling Plaintiff Minhye Park to produce documents and discovery in response to

  Defendant’s discovery demands and to provide complete answers to Defendant’s interrogatories.

                 This is a medical malpractice action in which Plaintiff claims that Dr. Kim

  negligently performed an abortion in November 2017. Exh. A at ¶¶ 1, 16. Plaintiff further alleges

  that the procedure was performed without her informed consent and alleges that after the

  procedure, she suffered physical injuries, emotional distress, and was unable to work. Id. at ¶ 30-

  33. This motion to compel is necessary because Plaintiff has failed to produce basic document

  discovery or, complete interrogatory responses relevant to the claims made in this case.

                 Plaintiff is a resident of South Korea. Id. at ¶ 5. As such, all her relevant prior and

  subsequent treatment records are located in South Korea. Prior to the treatment at issue, Plaintiff

  underwent two abortions in South Korea. Our firm has been unable to obtain these relevant prior

  records because Plaintiff failed to produce medical authorizations for these records and, failed to

  produce actual copies of the records, too.

                 Plaintiff’s counsel has suggested that these records cannot be obtained because her

  client does not recall the names of the providers who performed these services. Plaintiff provided

  Defendant with an authorization for the collateral source records but the South-Korean based

  insurer has ignored and refused to respond to our firm’s request for records for several months.

  Therefore, Defendant then served a demand for a copy of Plaintiff’s collateral source records, the

  insurance records which would reveal the identities of the providers who performed her prior

  abortions, as well as the identities of other relevant treating physicians who may have information

  pertinent to Plaintiff’s gynecologic history and the injuries alleged in this case. Instead of

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  furnishing the records, Plaintiff objected to the production of a copy of the collateral source records

  as irrelevant. Upon information and belief, Plaintiff has not made any good faith effort to obtain

  either her prior abortion records or insurance records.

                 In addition to the issues above, with respect to document discovery, Plaintiff

  refused to provide records supporting her claims for lost earnings, complete medical records

  regarding all injuries alleged in the Complaint, and refuses to provide proper responses to some of

  the interrogatories served.     Plaintiff produced photographs and then failed to respond to

  Defendant’s demand for information regarding these photographs, such as the dates each photo

  was taken and its metadata.

                 In addition to the above, Plaintiff has failed to produce any expert discovery, despite

  the fact that this action involves allegations of medical malpractice.

                 Despite having commenced this case nearly ten months ago, the action is in the

  early stages of discovery and no depositions have been held due to Plaintiff’s failure to comply

  with her discovery obligations. It has been challenging to reach Plaintiff’s counsel to resolve these

  discovery disputes but after significant effort on our part, we were able to do so this month.

  Plaintiff’s counsel advised that her client satisfied her discovery obligations, despite the extensive

  outstanding discovery. As this Court is well-aware, given that the pertinent records are all located

  in a foreign country, our firm as well as this Court cannot compel production from non-party record

  holders. Therefore, it is incumbent upon Plaintiff to obtain and produce the records in this case.

                 Defendant has exhausted good faith efforts at attempting to resolve these issues

  with Plaintiff’s counsel. This motion to compel is necessary because Plaintiff failed to provide

  basic discovery, as required by Rule 26 and Rule 37 of the Federal Rules of Civil Procedure and

  has failed to articulate any good faith objections warranting her refusal to provide necessary



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  discovery that is essential to Dr. Kim’s defense. Plaintiff’s actions are hindering discovery in this

  case and are prejudicial to the defense. Defendant respectfully requests that the Court issue an

  order requiring Plaintiff to produce all outstanding document discovery and to provide complete

  responses to Defendant’s Interrogatories. It is additionally requested that the order provide

  grounds for dismissal of this case in the future should Plaintiff fail to timely comply.

                       FACTUAL AND PROCEDURAL BACKGROUND

                 Plaintiff, who was visiting the United States from South Korea, sought treatment

  from Dr. Kim for abortion services. Exh. A at ¶ 1. More specifically, at 5-weeks of pregnancy,

  she consulted with him twice before deciding to undergo a surgical abortion on November 27,

  2017. Id. at ¶¶ 1, 14. The abortion was performed at a nonparty medical facility located in Queens,

  New York. Plaintiff had one post-procedure appointment with Dr. Kim and thereafter, upon

  information and belief, Plaintiff returned to South Korea. Id. at ¶¶ 1, 18. She then instituted this

  action on June 13, 2020. See Case 1:20-cv-02636-PKC-LB, ECF No. 1, Filed 06/13/2020.

         In the Complaint, Plaintiff claims that Dr. Kim was negligent in performing the abortion,

  because he failed to completely remove all products of conception. Exh. A at ¶¶ 16-20. She further

  alleges that Dr. Kim failed to inform her that the abortion was unsuccessful, despite clear and

  contemporaneous documentation by Dr. Kim to the contrary. See Exh. A at ¶ 18 and Exh. J at 30-

  32. Plaintiff is seeking damages for loss of earnings, past and future pain and suffering, and the

  need to undergo a second procedure to remove the retained products of conception. See Exh. A.

                 Dr. Kim Answered the Complaint on October 22, 2021. See Case 1:20-cv-02636-

  PKC-LB, ECF No. 7, Filed 10/22/2020. An Initial Scheduling Conference was held in this case

  on November 12, 2020. See Case 1:20-cv-02636-PKC-LB, Scheduling Order, Filed & Entered

  11/12/2020. However, due to Plaintiff’s failure to follow prior Court orders regarding service of



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  the Summons and Complaint, the Court declined to set complete discovery deadlines at that time,

  and Plaintiff’s counsel was instructed to re-serve the Defendant. Id. At the next conference on

  December 22, 2017, all discovery was ordered to be complete by June 15, 2021. Case 1:20-cv-

  02636-PKC-LB, Scheduling Order, Filed & Entered 12/22/2020.

                 On November 19, 2020, Defendant’s First Set of Interrogatories and First Demand

  for Production of Documents were served on Plaintiff. See Exhibit C. Plaintiff did not serve a

  response to Defendant’s First Set of Interrogatories or her Initial Rule 26 Disclosures until January

  18, 2021. See Exhibit D. The Rule 26 Disclosures and response to Dr. Kim’s Interrogatories were

  deficient. To date, Plaintiff has not provided any response to Defendant’s First Demand for

  Production of Documents.

                 On February 8, 2021, our firm sent a detailed letter to Plaintiff’s counsel identifying

  the deficient responses. See Exhibit E. Specifically, some of Plaintiff’s interrogatory responses

  were wholly non-responsive to the numbered interrogatory or failed to provide complete

  information. For example, when asked to identify witnesses to the events described in the

  Complaint, Plaintiff responded that her “family members” were witnesses but then failed to

  provide any identifying information regarding these family members, such as their names or

  addresses. See Exhibit D.

                 Additionally, Plaintiff disclosed four photos to our firm via email. However, she

  failed to provide any metadata for the photos or even a description of when each photo was taken,

  where each photo was taken, and what each photo purported to show. This information was

  specifically demanded in Defendant’s Interrogatory #13 and requested again in the letter dated

  February 8, 2021.




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                 Over the ensuing months, our office made additional good faith demands for the

  outstanding discovery. Plaintiff’s counsel was served with another letter requesting responses to

  outstanding discovery on March 9, 2021. See Exhibit F. However, no response was received.

  Defendant served another letter on Plaintiff’s counsel requesting the outstanding discovery on

  April 29, 2021. See Exhibit G. Again, Plaintiff did not respond. Defendant served a Second

  Demand for Production of Documents on May 24, 2021. See Exhibit H. No response was received.

                 Despite our diligent efforts, our office was unable to obtain all necessary discovery

  by June 15, 2021. The parties jointly requested an extension of time to complete fact discovery at

  that time, upon the information and belief that Plaintiff’s counsel would continue to cooperate with

  discovery in good faith and required more time to produce all the discovery owed to Defendant.

  See Case 1:20-cv-02636-PKC-LB, ECF No. 14, Filed 06/01/2021. On June 2, 2021, Magistrate

  Judge Lois Bloom extended the time to complete discovery to September 30, 2021. See Case 1:20-

  cv-02636-PKC-LB, Order on Motion for Extension of Time to Complete Discovery, Filed

  06/02/2021.

                 Our firm called Plaintiff’s counsel five times in June 2021 to discuss the extensive

  discovery Plaintiff still owed. Plaintiff’s counsel did not return our calls but, on occasion, sent

  email responses without any further discovery attached. Another good faith letter was sent on June

  21, 2021. See Exhibit I. Finally, our office was able to arrange a telephone call with Plaintiff’s

  counsel on July 7, 2021. During the phone conference, Ms. Lee stated that Plaintiff satisfied her

  discovery obligations and that she would not produce any additional documents or supplemental

  responses to Defendant’s demands and interrogatories.

                 During this call, Plaintiff’s counsel suggested that Defendant Dr. Kim owed

  discovery to her firm in the form of a response to a document titled “Plaintiff’s First Request for



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   Admission.” This document was served on February 9, 2021. See Exhibit K. On March 9, 2021,

   our office advised Plaintiff’s counsel by letter that the document could not be responded to in its

   current form because the document was confusingly drafted and unclear as to what it sought. See

   Exhibit L. The document was titled “Plaintiff’s First Request for Admission,” but the document

   instructions actually demanded production of discovery, “produce within twenty days as

   follows…” See Exhibit K.              This instruction was then immediately followed by the title

   “Interrogatories.” Our office did not receive a response to the March 9 th letter, and Plaintiff did

   not serve any supplemental discovery demands. Many of the items of discovery described in the

   demand are identical to a prior demand served by Plaintiff earlier in this action and responded to

   by Defendant. When plaintiff’s counsel raised this issue for a second time, our office responded

   again and by email dated June 21, 2021, and advised Plaintiff that the document could not be

   responded to in its current form due to the noted issues in our letter dated March 9, 2021.

                    Plaintiff’s counsel stated that she had not been provided a copy of Dr. Kim’s

   medical chart or the Queens Surgical Care Center Records. However, Plaintiff’s counsel was

   previously provided a copy of Dr. Kim’s records on February 10, 2021. 1 See Exhibit M. Notably,

   our office has no control over Queens Surgical Center, which is not a party to this case and a

   wholly separate entity from Dr. Kim. Notwithstanding, we provided a courtesy copy of the record

   we obtained from this nonparty entity to Plaintiff’s counsel. Based on the foregoing, defendant

   Dr. Kim does not owe any discovery in this case.

                    In May of 2020, Defendant supplemented his Initial Rule 26 Disclosures to include

   expert witness disclosure. Plaintiff has still not provided any supplemental response to her Initial

   Rule 26 Disclosures, which were deficient due to her failure to include any computation of


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    The receipt of the medical records by plaintiff’s counsel from Dr. Kim was delayed by her failure to provide a duly
   executed HIPAA authorization permitting the release of Ms. Park’s records to her attorney.

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   damages as required by section (a)(1)(A)(iii) of Rule 26 of the Federal Rules of Civil Procedure

   and she has not provided any expert witness information, either.

                   To date, the following discovery is owed by Plaintiff:

                          Response to Defendant’s First Demand for the Production of Documents;
                           (Exhibit C).
                          Supplemental Response to Defendant’s First Set of Interrogatories (Exhibit
                           C), as detailed in Defendant’s good faith letters (Exhibit E);
                          Response to Defendant’s Second Demand for Production of Documents
                           (this Demand included a request for Plaintiff’s collateral source records and
                           employment records) (Exhibit H);
                          Response to demand for metadata and other information regarding the
                           photographs Plaintiff disclosed (Exhibit C and E);
                          Copies of all medical records pertaining to Plaintiff’s prior abortions and
                           subsequent medical treatment documenting the injuries alleged in the
                           Complaint (Exhibit C); and
                          Complete Rule 26 Disclosures, specifically including expert disclosure and
                           a computation of damages as required by 26(a)(1)(A)(iii) (Exhibit D).
                                               ARGUMENT

                   Pursuant to Rule 26(b)(1) of the Federal Rules of Civil Procedure, a party is

   permitted to “obtain discovery regarding any nonprivileged matter that is relevant to any party's

   claim or defense and proportional to the needs of the case, considering the importance of the issues

   at stake in the action, the amount in controversy, the parties’ relative access to relevant information,

   the parties’ resources, the importance of the discovery in resolving the issues, and whether the

   burden or expense of the proposed discovery outweighs its likely benefit. Information within this

   scope of discovery need not be admissible in evidence to be discoverable.” Relevance under Rule

   26 has been broadly construed. Balk v. New York Inst. Of Tech., 974 F. Supp. 2d 147, 154

   (E.D.N.Y. 2013). It encompasses “any matter that bears on, or that reasonably could lead to other

   matter that could bear on any issue that is or may be in the case.” Id.

                   All of Dr. Kim’s discovery requests relate to the allegations and injuries contained

   within Plaintiff’s Complaint. This information is clearly relevant and necessary to Defendant’s


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   defense to Plaintiff’s claims. See Kelly v. Times/Review Newspapers Corp., 2016 U.S. Dist.

   LEXIS 65579, *3 (E.D.N.Y 2016) (noting that disclosure of medical records is warranted where

   plaintiff has put his medical condition at issue); Griggs v. Weiner, 2015 U.S. Dist. LEXIS 145030,

   *7 (E.D.N.Y 2015) (holding that medical record disclosure is appropriate in cases where the

   plaintiff has put her medical condition at issue); Fox v. Cheminova, 2006 U.S. Dist. LEXIS 11463,

   at *25-26 (E.D.N.Y. March 1, 2006) (granting defendants’ motion to compel discovery responses

   concerning damages because such discovery was relevant to their defense); see also Carr v. State

   Farm Mut. Auto. Ins., 2015 U.S. Dist. LEXIS 163444, at *26 (N.D. Tex. Dec. 7, 2015). Plaintiff’s

   failure to provide this information is prejudicial to Dr. Kim and completely inhibits his ability to

   properly prepare a defense. Moreover, the delay in failing to produce records can result in

   permanent harm as the records pertaining to her relevant prior or subsequent treatment may not be

   available anymore. Of note, the treatment at issue occurred four years ago and but for the tolling

   in place due to the Covid-19 pandemic, Plaintiff’s lawsuit would not have been timely. By waiting

   to file a lawsuit and then delaying production of discovery, Plaintiff is prejudicing the Defendant

   from being able to obtain all the necessary records to examine Plaintiff’s allegations and cross-

   examine her as to the claims made in this case.

                  When a party fails to comply with a discovery demand, Rule 37(a) of the Federal

   Rules of Civil Procedure permits the demanding party to move the Court to compel the production

   of the discovery. See Fed. R. Civ. P. 37(a); Ortiz v. New York City Hous. Auth., 2010 U.S. Dist.

   LEXIS 23719, at *3-5 (E.D.N.Y. March 12, 2010). Additionally, pursuant to Rule 37(b), the Court

   can order sanctions for a party’s failure to comply with discovery orders. See Daval Steel Products

   v. M/V Fakredine, 951 F.2d 1357, 1363 (2d Cir 1991). Permissible sanctions for failure to abide

   by court orders or permit discovery include the award of attorney’s fees and dismissal of the action



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   with prejudice. See Fed. R. Civ. P. 37(b)(2)(A)(v); Agiwal v. Mid Island Mortg. Corp., 555 F.3d

   298, 302 (2d Cir. 2009).

                  In compliance with Rule 37(a), Defendant has made numerous good faith attempts,

   as delineated above and in the attached Rule 37 Certification, to obtain the requested and

   outstanding discovery. Plaintiff has nonetheless refused to provide the outstanding discovery and

   has not offered any reason justifying her failure, and now refusal, to do so. In failing to provide

   the outstanding discovery, Plaintiff has also failed to abide by this Court’s discovery orders. As

   such, Defendant respectfully requests that plaintiff be compelled to provide the outstanding

   discovery. See Michelman v. Ricoh Ams. Corp., 2013 U.S. Dist. LEXIS 25143, *7, 2013 WL

   664893 (E.D.N.Y. 2013) (upholding the magistrate judge’s order compelling plaintiff to disclose

   tax returns and medical records); Roberites v. Huff, 2013 U.S. Dist. LEXIS 45930, *7 (W.D.N.Y.

   2013) (ordering plaintiff to provide authorizations for medical records as his medical condition

   was placed at issue by the nature of his claims).

                  Defendant also respectfully requests that he be awarded attorney’s fees and costs

   for making this motion pursuant to Rule 37 of the Federal Rules of Civil Procedure, and in the

   event that Plaintiff fails to provide the outstanding discovery at a date specified by this Court, he

   respectfully requests that he be granted permission to move for dismissal of the action if Plaintiff

   fails to comply with the Order by a date certain. See Luo v. Panarium Kissena Inc., 2019 U.S. Dist.

   LEXIS 14187, *18 (E.D.N.Y. 2019) (recommending that the action be dismissed with prejudice

   where plaintiffs were non-responsive, failed to provide discovery, and otherwise failed to abide by

   court orders), adopted by Luo v. Panarium Kissena Inc., 2019 U.S. Dist. LEXIS 107925, *2,

   (E.D.N.Y. 2019); Farmer v. Hyde Your Eyes Optical, Inc., 2015 U.S. Dist. LEXIS 62904, *29




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   (S.D.N.Y 2015) (assessing monetary sanctions against plaintiff where he refused to provide

   discovery and comply with court orders, including the production of medical records and releases).

                                            CONCLUSION

                  For the reasons outlined above, Defendant respectfully requests that the Court grant

   his Motion to Compel and Order that Plaintiff produce all documents, discovery and interrogatory

   responses as outlined in this motion. It is further requested that the Court provide Defendant with

   grounds to file a motion to dismiss should Plaintiff fail to comply with the Order by a date certain.

   Lastly, reasonable attorney’s fees and costs associated with making this Motion are requested as

   Defendant attempted in good-faith to resolve these issues prior to making the motion.

   Dated: New York, New York
          July 29, 2021

                                             _______________________________________
                                                Hayley Newman (HN 5509)




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